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                     Exhibit A
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                                      FORR, STOKAN, HUFF,
                                      KORMANSKI & NAUGLE
                                                    ATTORNEYS AT LAW
                                                      170 I FwrH AVENUE
                                                   ALTOONA, PA 16602-2319
Parlncrs:                                         TELEl'/IONE: (814) 946-4316          Associates:
R. THOMAS FORR, JR.                                  FAX: (814) 946-9426               MARY ANN PROBST
WILLIAM J. STOKAN                                                                      GREGORY S. OLSAVICK
JAMES R. HUFF, II                                                                      DONALD J. BYRNES
TRACI L. NAUGLE

JOHN F. SULLIVAN (1932-2014)
JOEL M. KORMANSKI ( 1962-2011)



                                                 September 11, 2017



Kemper Independence Insurance Company
12926 Gran Bay Parkway West
Jacksonville, FL 32258


                      Re:        Professional, Inc. d/b/a Professionals Auto Body v.
                                 Kemper Independence Insurance Company
                                 Docket No. 2017 GN 2477


To Whom It May Concern:

        Please find enclosed a copy of the Complaint filed in the above-captioned matter with the
Blair County Prothonotary. Pursuant to the Pennsylvania Rules of Civil Procedure this
constitutes service upon your company of the same. You should contact an attorney immediately
to discuss any relevant deadlines for response.

            Thank you for your attention to this matter.
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                                                                             For P1·othonotary Use Only:
                                                                                                                                    j,

                                                                             Docket No:                                                   ~



                                                                              2J)l7 6N2~77
             The i1!f'ormatio11 collected 011 this form is used solelJ' for court administration purposes. This form does not
             supplement or replal·e the filing and service ofp leadings or other pap rs as req11ired bv-· law or rules of court.
           Commencement of Action:
is          IE) Complaint         D Writ of Summons                     D Petition
            0 Transfer from Another Jurisdiction                        0   Declaration of Taking
    E
le         Lead Plaintiffs Name:
            Proffesional, Inc.
                                                                              Lead Defendant's Name:
                                                                               Kemper Independence Insurance Company
    T
                                                                                Dollar Amount Requested:            Owithin arbitration limits
    I      Are money damages requested?              IEI Yes      D No                (check one)                   IEI outside arbitration limits
    0
    N       Is this a Class Action Suit?             0Yes         IEi No         Is this an MDJ Appeal?                 D Yes            IEi No

    A           Name of Plaintiff/Appellant's Attorney: Traci L. NauQle, Esq.
                            D      Check here if you have no attorney (are a Self-Represented [Pro Se) Litigant)

           Nature of the Case:       Place an "X" to the left of the ONE case category that most accurately describes your
                                     PRIMARY CASE. If you are making more than one type of claim, check the one that
                                     you consider most important.

            TORT (du nut include Mass Tort)            CONTRACT (du 110! include Judgments)         CIVIL APPEALS
             [] Intentional                             D Buyer Plaintiff                            Administrative Agencies
             [] Malicious Prosecution                   0 Debt Collection: Credit Card               D Board of Assessment
    if~;     D Motor Vehicle                            D Debt Collection: Other                     0 Board of Elections
        "-·  D Nuisance
             0 Premises Liability
                                                                                                     8  Dept. of Transportation

    s        0 Product Liability (does not include
                mass tort)                               0     Employment Dispute:
                                                                                                        Statutory Appeal: Other

    E        0 Slander/Libel/ Defamation                       Discrimination
    c        0 Other:                                    0     Employment Dispute: Other              0
                                                                                                      0
                                                                                                           Zoning Board
                                                                                                           Other:
    T
    I                                                    1EJ Other:
           MASS TORT                                           Breach of Contract/
    0-      D Asbestos                                         Quantum Meruit
f   N
    :       0 Tobacco
            D Toxic Tort - DES
            D Toxic Tort - Implant                     REAL PROPERTY                                MISCELLANEOUS
            0 Toxic Waste                               0 Ejectment                                  0 Common Law/Statutory Arbitration
            O Other:                                    D Eminent Domain/Condemnation                0 Declaratory Judgment
'B                                                      0 Ground Rent
                                                        0 Landlord/Tenant Dispute
                                                        D Mortgage Foreclosure: Residential
                                                                                                     8 Mandamus
                                                                                                       Non-Domestic Relations
                                                                                                        Restraining Order
           PROFESSIONAL LIABLITY                        0 Mortgage Foreclosure: Commercial           0 Quo Warranto
            0 Dental                                    D Partition                                  0 Replevin
            0 Legal                                     0 Quiet Title                                D Other:
            []Medical                                   0 Other:
            D Other Professional :


                                                                                                                                Updated 11112011
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         IN THE COURT OF COMMON PLEAS OF BLAIR COUNTY, PENNSYLVANIA

PROFESSIO_NAL, INC. d/b/a,
PROFESSIONALS AUTO BODY

                              Plaintiff

       VS.                                                                                      NO. 2017 GN - -- -


KEMPER INDEPENDENCE INSURANCE COMP ANY,                                                         CIVIL ACTION - LAW

                             Defendant
                                                                                                JURY TRIAL DEMANDED

                                                                                 NOTICE

                You have been sued in Court. If you wish to defend against the claims set forth in the
following pages, you must take action within TWENTY (20) DAYS after this COMPLAINT and
NOTICE are served, by entering a written appearance personally or by attorney and filing in writing
with the Court your defenses or objections to the claims set forth against you. You are warned that if
you fail to do so, the case may proceed without you and a judgment may be entered against you by the
court without further notice for any money claimed in the COMPLAINT or for any other claim or
relief requested by the Plaintiff. You may lose money or property or other rights important to you.

         YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF
YOU DO NOT HA VE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE
THE OFFICE SET FORTH BELOW. THIS OFFICE CAN PROVIDE YOU WITH
INFORMATION ABOUT HIRING A LAWYER.

         IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY
OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

                                                            MIDPENN LEGAL SERVICES, INC.
                                                           205 Lakemont Park Boulevard, Lakemont
                                                                      Altoona, PA 16602
                                                                     1-800-326-9177


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                                                                         '        Tr i L. Naugle, Esquire
         1.
                                                                                  F rr Stokan, Huff, Kormanski &
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                                                          J                       Attorneys at Law
                                                                                  1701 Fifth Avenue
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                                                         • /:,.!.                 Altoona, Pa. 16602
       !: \                       7 , •'                                          (814) 946-4316
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                                                                                  State l.D. #92819
                                           '                  -
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        IN THE COURT OF COMMON PLEAS OF BLAIR COUNTY, PENNSYLVANIA

PROFESSIONAL, INC. d/b/a,
PROFESSIONALS AUTO BODY

              Plaintiff

       VS.                                                      NO. 2017 GN - - - -


KEMPER INDEPENDENCE INSURANCE COMPANY,
                                                                CIVIL ACTION - LAW
              Defendant                                         JURY TRIAL DEMANDED



                                           COMPLAINT


TO THE HONORABLE, THE JUDGES OF SAID COURT:

              AND     NOW,     to   wit,   comes   the   Plaintiff,   PROFESSIONAL,    INC.   d/b/a

PROFESSIONALS AUTO BODY (hereinafter "Professionals"), who by and through its counsel,

FORR, STOKAN, HUFF, KORMANSKI & NAUGLE, ESQUIRE, does hereby file this

COMPLAINT against the above named Defendant averring as follows:

                                              1.

              Plaintiff, Professional, Inc., d/b/a Professionals Auto Body, is a corporation

incorporated pursuant to the laws of the Commonwealth of Pennsylvania with a principal place of

business located at 1109 Plank Road, Duncansville, Blair County, Pennsylvania.

                                              2.

              Defendant, Kemper Independence Insurance Company, 1s an insurance company

registered to do business with the Pennsylvania Insurance Department with a Pennsylvania address of

12926 Gran Bay Parkway West, Jacksonville, Florida 32258.
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                                                3.

               Plaintiff, Professionals, is an automobile body repair shop with locations in the

Duncansville and Altoona areas.

                                                4.

               Defendant is an insurance company licensed to and does actually provide automobile

insurance coverage for automobile owners in the Commonwealth of Pennsylvania.

                                                5.

               In the Commonwealth of Pennsylvania, the right of the owner of a damaged

automobile to choose a repair shop is preserved by Pennsylvania law at 63 P.S. §861.

                                                6.

               At various times between September, 2013 up through the date of this filing,

individuals insured by Defendant have brought their automobiles to the plaintiff's auto body repair

shop for repairs that were to be covered pursuant to each insurance policy whether the policy was by

and between the owner of the automobile or a policy with the liable third party.

                                                7.

               The many automobile owners hereinafter referenced did select Professional to make

repairs to their damaged automobiles and provided a written authorization to Professionals to perform

those repairs reasonable and necessary for the vehicles to be brought back into their pre-loss condition.

                                                8.

               Each individual automobile owner did also execute an assignment of proceeds

authorizing Professionals to recover any unpaid amount for services rendered and repairs made by

plaintiff, Professionals, pursuant to their request and authorization of each automobile owner.

                                                9.

               Defendant has failed to make payment to Professionals for services provided therefore
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has a collective sum due and owing to Professionals in the amount no less than $5,240.99, together

with the delay time costs of $51,4 74.98, together with the administrative costs of $2, 709 .00 for a total

amount of no less than $59,424.97.

                                                 10.

               Despite numerous requests made by Professionals to Defendant, Defendant has

indicated that it will not be paying the full sum due and owing for parts, labor, repairs made and other

services rendered by Professionals to each individual automobile owner.

                                                 11.

               Due to the refusal of Defendant to make payment of the full sum due and owing to

Professionals for services provided relative to each automobile owner Professionals has been greatly

damaged by the loss of income, need to utilize additional administrative resources to obtain any

payment, delay in repair cycles and the provision of parts and services for which it was never properly

compensated by the various insurers.

                                                 12.

               Over a period of years, Defendant has engaged in intentional, ongoing and concerting

courses of conduct in order to improperly and illegally control and depress the costs of automobile

repairs, which has all been to the detriment of Plaintiff and the substantial benefit of Defendant.

                                                 13.

               Plaintiff has been put in the untenable position of having to provide all necessary repair

services in order to bring each damaged vehicle back to its pre-loss condition without ever receiving

full reimbursement for the labor and costs involved in making those necessary repairs, which has

resulted in Plaintiff regularly making repairs without compensation and to its own financial detriment.

                                                 14.

               Attached to this Complaint as Exhibit "A" are documents relating to each individual
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automobile owner whose cost of repairs was not fully paid by Defendant as indicated and averred in

the foregoing paragraphs.

                                                 15.

               For example but not by way oflimitation, automobile owner Aaron Y audes brought his

2008 Suzuki SX4 to Professionals for repair services in October 2013.

                                                16.

               William Moyer's vehicle was insured by Defendant.

                                                17.

               After an inspection of the damage to the vehicle, Defendant did elect for repairs to be

performed rather than to replace the vehicle as a total loss.

                                                18.

               Professionals did utilize a licensed appraiser at its facility to review all damage,

determine necessary repair procedures and prepare a repair estimate, which was then submitted to

Defendant.

                                                19.

               Despite numerous requests and attempts to obtain full reimbursement for all parts and

labor invested in repair of the vehicle pursuant to vehicle owner's authorization and election to repair

made by the insurer Professionals remains unpaid for the full sum of parts, labor and other supplies

invested in the repair in the amount of $703.44, plus delay damages in the amount of $7,674.67, plus

Administrative Costs in the amount of $501.20.

                                                20.

               Aaron Y audes did sign an assignment of proceeds and authorization for repairs in order

to permit and direct that Professionals would pursue this deficiency due and owing to it.
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                                                 21.

                Aaron Y audes is just one example of such practices by Defendant. A complete list of

the instances giving rise to this Complaint is attached as Exhibit A.

                                  COUNT l - QUANTUM MERUIT

                                                 22.

                Plaintiff hereby incorporates by reference all of the foregoing paragraphs by reference

as if again fully set forth.

                                                23.

                Plaintiff is in the business of repairing damaged automobiles to their pre-loss condition.

                                                24.

                Relative to each transaction attached hereto Plaintiff was contacted by the customer

and then, pursuant to the customer's authorization, expended significant costs in the sense oflabor and

materials to the benefit of Defendant and Defendant's claimant or insured.

                                                25.

                In each of the attached transactions, the Defendant is required by either contract or tort

law to provide payment on behalf of each claimant for all repairs and services rendered.

                                                26.

                While the Plaintiff has provided full and complete information with regard to each

necessary repair and transaction, Defendant has repeatedly failed and/or refused to provide full

payment for all of the services and materials rendered to each automobile owner.

                                                27.

                Defendant has failed and/or refused to fully reimburse Plaintiff for all of the costs

involved with making repairs to each automobile for which Defendant was required to make payment

for such repairs.
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                                                 28.

                Defendant's refusal to fully reimburse Plaintiff for the repairs provided has unjustly

 enriched Defendant and each transaction by the sum of the difference between what is due to Plaintiff

 and what Defendant independently determined and unilaterally determined it would.

                                                 29.

                Defendant is aware that a significant benefit has been received by it from its refusal to

 pay the full amount for repair of each vehicle, and the bottom line of Defendant has been increased by

 each refusal to pay the full sum due and owing for the proper repairs that were completed for each

 vehicle.

                                                 30.

                As a result of the actions, failures and/or omissions of Defendant, Plaintiff suffered

 additional damages in the form of delay time cost and administrative costs for each instance.

                                                 31.

                Said delay time costs and administrative costs were part of and required in the

 reasonable and necessary repairs to each vehicle to restore the vehicle to its pre-loss condition and to

 the satisfaction of the owner of the vehicle.

                                                 32.

                Defendant continues to retain all benefits despite objection of the Plaintiff.



                WHEREFORE, Plaintiff respectfully requests this Honorable enter an Order

 requiring Defendant to make the Plaintiff whole for all labor and materials expended that have

 benefited Defendant which sum would be approximately $5,240.99, together with the delay time costs

 of$51,474.98, together with the administrative costs of$2,709.00 for a total amount of no less than

 $59,424.97, and to enter any further Order this Honorable Court may deem just and proper to
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compensate Plaintiff for benefits wrongfully retained by Defendant.



                                 COUNT II - UNJUST ENRICHMENT

                                                  33.
                  Plaintiff hereby incorporates all of the foregoing paragraphs by reference as if each

paragraph was again fully set forth.

                                                 34.

                  The repairs made by Plaintiff to each vehicle have benefited Defendant in that the

repairs necessary for each vehicle to be put back to its pre-loss condition and to the satisfaction of the

owner of the vehicle, which repairs Defendant was responsible to pay for, has satisfied an obligation

owing from Defendant to either its own policy holder or to an individual who is damaged by one of its

policy holders.

                                                 35.

                  The satisfaction of that repair obligation is a significant benefit conferred upon

Defendant, which benefit was provided by Plaintiff.

                                                 36.

                  While each repair was fully and completely made to a great benefit of Defendant,

Defendant failed to pay the full cost necessary for the repairs as set forth in the attached Exhibits.

                                                 37.

                  Despite numerous requests being made by Plaintiff for full and complete payment of all

repair costs, Defendant has failed and/or refused to remit full reimbursement to Plaintiff for the

necessary repairs to each vehicle.

                                                 38.

                  By accepting the full and complete repairs to each vehicle while refusing to make full

payment for all costs of every necessary repair, Defendant has received a significant benefit for which
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it has not paid but has rather retained sums of money properly due and owing to Plaintiff as

consideration for the repairs performed.

                                                39.

                In each transaction, Defendant has made a partial payment and thus only partially

performed its duty to pay.

                                                40.

               As a result of the actions, failures and/or omissions of Defendant, Plaintiff suffered

additional damages in the form of delay time cost and administrative costs for each instance.

                                                41.

               Said delay time costs and administrative costs were part of and required in the

reasonable and necessary repairs to each vehicle to restore the vehicle to its pre-loss condition and to

the satisfaction of the owner of the vehicle.



               WHEREFORE, Plaintiff respectfully requests this Honorable Court enter an Order

requiring Defendant to pay damages in the amount of $5,240.99, together with the delay time costs of

$51,474.98, together with the administrative costs of $2,709.00 for a total amount of no less than

$59,424.97, and to enter any other Order as may be deemed just and proper.



                             COUNT III- BREACH OF CONTRACT

                                                42.

               Plaintiff hereby incorporates all of the foregoing paragraphs by reference as if each

paragraph was again fully set forth.

                                                43.

               In each of the attached transactions, Defendant has represented that it did have an
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obligation to pay and did partially perform its duty to make payment by making a partial payment

relative to all repairs rendered.

                                                44.

                In each of the attached instances, Defendant has failed/refused to pay the full amount

due to Plaintiff as each amount due is what was required in order to fully and properly make the

necessary and reasonable repairs to the vehicle.

                                                45.

                It is clear from each partial payment that Defendant was in agreement that repairs had

to be made to each vehicle and that it would be obligated to make payments for such repairs.

                                                46.

                Plaintiff is now seeking complete performance by Defendant who has failed and/or

refused to make payment in full and by this action is seeking the deficiency owed relative to each

individual transaction as attached hereto.

                                                47.

                Failure and/or refusal of Defendant to pay the full and complete costs of repairs does

constitute a breach of the agreement whereby Plaintiff completed repairs to each vehicle with the

understanding that payment in full would be received.

                                                48.

                As a result of the actions, failures and/or omissions of Defendant, Plaintiff suffered

additional damages in the form of delay time cost and administrative costs for each instance.

                                                49.

                Said delay time costs and administrative costs were part of and required in the

reasonable and necessary repairs to each vehicle to restore the vehicle to its pre-loss condition and to

the satisfaction of the owner of the vehicle.
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                                                50.

               By Defendant's failure and/or refusal to make payment in full, Plaintiff has now been

damaged in the sum of $5,240.99, together with the delay time costs of $51,474.98, together with the

administrative costs of $2,709.00 for a total amount of no less than $59,424.97.



               WHEREFORE, Plaintiff respectfully requests this Honorable Court enter an Order

requiring Defendant to pay damages in the amount of $5,240.99, together with the delay time costs of

$51,474.98, together with the administrative costs of $2,709.00 for a total amount of no less than

$59,424.97 and to otherwise enter an Order providing for any and all such other relief that this

Honorable Court may deem just and proper.



                                       COUNT IV -BAD FAITH

                                                51.

               Plaintiff hereby incorporates all of the foregoing paragraphs by reference as if each

paragraph was again fully set forth.

                                                52.

               By failing and refusing to make full and proper payment for all necessary and proper

repairs made to each vehicle in order to put the same into its pre-loss condition, Defendant has violated

the Pennsylvania Motor Vehicle Damage Appraisers Act and/or various regulations relating to the

same.

                                                53.

               Defendant has failed to fully and properly evaluate each claim in order to make the full

and proper payment due to Plaintiff for repairs made to each vehicle.
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                                                 54.

                The failure and/or refusal of Defendant to fully and properly inspect and make full and

 proper payment for the repairs necessary to each vehicle has caused continuous and ongoing damages

 relative to the proceeds of each policy due and owing to Plaintiff.

                                                 55.

                The violation of those duties owed by Defendant relative to each claim whether by

 virtue of the policy/contract were pursuant to statutory obligation is a clear demonstration of bad faith

 pursuant to Pennsylvania law.

                                                 56.

                Defendant is therefore liable for those bad faith remedies available to Plaintiff by virtue

 of 42 Pa. C.S.A. § 8371, including but not limited to attorney's fees and punitive damages.

                                                 57.

                As a result of the actions, failures and/or omissions of Defendant, Plaintiff suffered

 additional damages in the form of delay time cost and administrative costs for each instance.

                                                 58.

                Said delay time costs and administrative costs were part of and required in the

reasonable and necessary repairs to each vehicle to restore the vehicle to its pre-loss condition and to

the satisfaction of the owner of the vehicle.



                WHEREFORE, Plaintiff respectfully requests this Honorable Court enter an Order

finding that Defendant has acted in bad faith with regard to each of the attached transactions and order

payment of all attorney's fees and punitive damages and any other such relief that this Honorable

Court may deem just and proper.
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                COUNT V - INTENTIONAL INTERFERENCE WITH BUSINESS

                                                 59.

                Plaintiff hereby incorporates all the foregoing paragraphs by references as if each

 paragraph was again fully set forth.

                                                 60.

                Plaintiff had a contract with each of the vehicle owners to repair each to satisfaction of

 the owner by putting the same into its pre-loss condition and to perform all reasonable and necessary

 repairs to the vehicle to accomplish that directive.

                                                 61.

                Defendant purposefully and intentionally interfered with that contractual relationship

by failing and/or refusing to pay for all reasonable and necessary repairs.

                                                 62.

                Moreover, Defendant attempted to direct Plaintiff to utilize inferior parts and/or to

perform inferior service, which would have prevented Plaintiff from fully performing its duties under

the attached contracts.

                                                 63.

                Defendant lacked privilege or justification for such interference.

                                                 64.

                Despite Defendant's intentional interference, Plaintiff still completed the terms of its

contract with each vehicle owner by performing all reasonable and necessary repairs to place the

vehicles in their pre-loss condition.

                                                 65.

                Plaintiff suffered harm in that it has not received full compensation from Defendant for

the reasonable and necessary repairs to each vehicle.
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                                                 66.

                 Defendant's conduct has created delays in repair of each vehicle, resulting in Plaintiffs

loss of business and incurrence of potential liability for the storage of each vehicle.

                                                 67.

                 Defendant's conduct was unreasonable, intentional, and malicious under the

circumstances.

                                                 68.

                 As a result of the actions, failures and/or omissions of Defendant, Plaintiff suffered

additional damages in the form of delay time cost and administrative costs for each instance.

                                                 69.

                 Said delay time costs and administrative costs were part of and required in the

reasonable and necessary repairs to each vehicle to restore the vehicle to its pre-loss condition and to

the satisfaction of the owner of the vehicle.



                 WHEREFORE, Plaintiff respectfully requests this Honorable enter an Order

compensating Plaintiff for the loss from Defendant' s interference in its business which sum would be

approximately $5,240.99, together with the delay time costs of $51,474.98, together with the

administrative costs of $2,709.00 for a total amount of no less than $59,424.97, and to enter any

further Order this Honorable Court may deem just and proper to compensate Plaintiff for intentional

interference by Defendant.
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And Plaintiff shall ever pray.


                                         Respectfully Submitted,
                                         Forr, Stokan, Huff, Konnanski & Naugle

                                                   //,- -~ ·-
                                         By:   l     /   !la~ 1
                                                    Ti·aci L. N augl , squire
                                                    Attorneys for Plaintiff
                                                    State l.D. #92819
                                                    1701 Fifth Avenue
                                                    Altoona, PA 16602
                                                    (814) 946-4316
                                                    (814) 946-9426 (fax)
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                                 Exhibit A
Case 6:18-cv-06024-GAP-TBS Document 2 Filed 09/29/17 Page 21 of 79 PageID 29




    vehicle following an accident.                  The re.pairs required following Customer's accident and for

    which Customer utilized the services of Professionals Auto Body do constitute a compensable

    loss under an insurance policy. Those repairs are to be paid for by                 ~'1' p
    hereinafter "Insurer," according to the terms of the underlying policy.



               Customer has a right to payment of all costs that were necessary for repair of his/her

   vehicle, and Insurer is obligated by the applicable insurance policy to pay for such repair costs.

   The repair costs that Insurer is obligated to pay do constitute "proceeds" of the policy.



              In consideration of Professionals Auto Body's agreement to make all repairs to

   Customer's damaged vehicle, Customer desires to and does hereby assign to Professionals Auto

   Body any and all right, claim or other interest in any proceeds necessary to pay for repairs to

   Customer's vehicle as stated in the attached contract for repairs. As such, Professionals Auto

   Body is entitled to pursue payment of all proceeds of the insurance policy from Insurer in the

   amount of ....,$_---i<j.___.f....._.¥
                                      '--
                                      .   ,_9___>_ _ _ _as stated in the attached contract for repairs.

             If any portion of the above agreement should be found unenforceable by a court of law,

   the remainder of the agreement shall remain operative, valid and enforceable.



             If any portion of the above agreement should be found to be invalid, Customer (Assignor)

   shall still be held liable to Professionals Auto Body (Assignee) for the total amount of repairs as




                                      .   - - .-     - ---··-- -- -- - - - -- - -
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    set forth in the contract for repairs. This agreement does not ip any way diminish the right of

    Professionals Auto Body to pursue payment for the repairs it has made to Customer's

    (Assignor's) vehicle as stated in the-contract for repairs.



           This agreement is the entire agreement relative to the assignment of Customer's rights to

    pursue payment from Insurer for those repairs of Customer's vehicle set forth in the attached

    contract for repairs. Any other agreement that may be made relative to Customer's rights to

    pursue payment from Insurer for repairs of Customer's vehicle as set forth in the attached

    contract for repairs shall be heJd invalid and superseded by this assignment of Customer's rights.



           For the mutual exchange of promises and intending to be legally bound hereby, witness

   my hand and seal this      / '{      day of         ~ v Y ,20~AD.
                                                                  j
Case 6:18-cv-06024-GAP-TBS Document 2 Filed 09/29/17 Page 23 of 79 PageID 31




               COLLISION REPAIR SPECIALISTS




                             Authorization to Handle Your Claim and Repairs



        One reason we require an authorization is due to the "privacy act" which requires us to
        receive your permission to make calls on your behalf Our goal is to also make sure you
        receive the highest quality and service at a fair price. So please read the following very
        carefully and feel free to ask any questions. Thank you for letting Professionals Auto
        Body repair your vehicle.

    Professionals Auto Body will take the time to complete the paper work and phone calls
    regarding your cJaiin. We sometimes need a little help from you but we will let you know
    if it is necessary. We need you to provide us with as much information as you can so we
    can expedite your claim and get started with your repairs.

    If for any reason, you do not have us do the repairs after we have taken the time to handle
    your claim. at that point you will be responsible for a $75.00 fee. If parts are ordered, you
    will be responsible for a 30% return and restocking fee.

    So if for any reason you may not have us do your repair, Do Not Sign This Agreement:
    and feel free to seek other repair shops for your. estimates and or repairs. But I want to
    emphasize that we do want to do your repairs!

    Finally. this authorization form allows us to concentrate on customers that are serious
    about Professionals Auto Body doing their repairs. We seek to give them the time and
    service that we are known for in this area.

    I   m~d and agree to the above, intending to be legally hereby, this 'Z.-Y          day of

    ~                  -z,D)"(                                        .
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                         lnsured's Notificat.ion of Repairs or Supplement


                  Appraisers Name:         'j'/f1     (;,d}
                  Insurance Company:       P.~/
                  Claim number:      (''6"'1 '(77/ //PIT
                  Vehicle owner:·;;;,,"         ~'j /vJ
                  Request number:
                  Date and time of request:


 Please be advised that the above referenced vehicle has been brought to our facility for damage repairs. We have
 received authorization from our customer, the consumer, to complete the required repairs. Enclosed please find a
 copy of the listed damage repairs or supplement that are to be undertaken on this vehicle. lt is our professional and
 expert opinion that these listed repairs are required to return this vehicle to pre-loss condition, to the best of human
 ability. Please submit a check to the consumer immediately for these required repairs. Failure to repair each and
 every one of these items may result in flaws, defects, loss in market value, and potential safety hazards to the
 consumer.

 Under the insurance policies issued in this state, the policyholder is required to give the insurance company the
 opportunity to inspect the required repairs before they commence. Please consider this contact to be the official
 notification to the insurer to inspect the consumers' vehicle and its required repairs within 6 days for initial
 inspection and a reasonable time for supplements, a reasonable time would not exceed 12 hours (business hours).
 Removal of damaged parts and repairs will commence immediately following an authorization by the customer,
 with or without inspection by the insurance company, so as to not unduly delay the repair. No changes in repair
 strategy will be permitted unless authorized by the customer. It should also be noted that the insurer has no legal
 right to authorize or prohibit the repairs of any vehicle. The insurer's only responsibility is to pay for the required
 repairs.

 Any delays in the repair of the automobile, caused by the insurer, will immediately force the repair facility to
implement storage charges of$ 75 per day outside and $425 per day inside in a work stall $125 in disassembly
(may be adjusted); if a vehicle is being delayed while it's on a machine the amount will increase to $600 a day .
(may be adjusted) until the insurance delay is terminated and all paperwork is submitted to the customer and PAB.
Any paperwork "admin time" will be charged as necessary for supplement items that should have been paid for and
noted on the original inspections. The outside fee will apply if vehicle is completed and sitting out front waiting for
final pap~rwork.

In addition, it will be the responsibility of the insurance company to inform the consumer, in writing, of all repairs
listed on the professional expert's damage report "Professionals Auto Body" that the insurer feels should not be
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 repaired. A written explanation, along with supporting documentation, should be provided by the insurance
 company, to the consumer, for each deleted operation.

                                               Govern yourselves accordingly.
           § 859. Penalties

      Any person who violates any of the provisions of the Pa. act is guilty of a misdemeanor and upon
      conviction thereof, for each offense, shall be sentenced to pay a fine not exceeding five hundred
                dollars ($500), or to undergo imprisonment not exceeding one year, or both.

          § 860. Rules and regulations

      Because an appraiser is charged with a high degree of regard for the public safety, the operational
                                                  safety of the
     vehicle shall be paramount in considering the specification of new parts. This consideration is vitally
                                                    important
     where the parts involved pertain to the drive train, steering gear, suspension units, brake system or
                                                      tires.

 No appraiser shall secure or use repair estimates that have been obtained by the use of photographs,
                                               telephone
                       calls or in any manner other than a personal inspection.

  No appraiser or his emplover shall require that repairs be made in anv specified repair shop.
   Everv appraiser shall promptly reinspect damaged vehicles prior to the repairs in question
                                      when supplementary
 allowances are requested bv repair shops and the amount or extent of damages is in dispute.

         Every appraiser shall:

                  (1) Conduct themselves in such a manner as to inspire public confidence by fair and
                 honorable dealings.
                 (2) Approach the appraisal of damaged property without prejudice against, or favoritism
                 toward, any party involved
                 in order to make fair and impartial appraisals.
                 (3) Disregard any efforts on the part of others to influence his judgment in the interest of
                 the parties involved.
                 (4) Prepare an independent appraisal of damage.
                 (5) Inspect a vehicle within six working days of assignment to


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                                      - - - - --- --
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               ~UTO      aOllY                                                          Damage Report Authorization
         ColUalon Repair Speclalists
                                                                                           Disassemble & Diagnose



 Name                                                                         Home & Cell Phone numbers

                                                        {~1~
                              Make                   Model                    Email Address (used only for repair communl~llDns & Information)




                Who is responsible to you for reimbursement for the cost of repairs? (Please check)

         My Insurance: /Their Insurance: __ Paying out of pocket: __ Deductible (if any): _ _

 Insurance Co:         t_~+/                        Adjuster: _ _ _ _ _ _ daim #: c                                  6   Yt;7 71aI1-
 •   I do hereby authorize Professionals Auto Body to Disassemble and prepare a damage report to my automobile. I
     acknowledge that this report Is only preliminary and not binding on either party without executing a separate contract of
     repair with Professionals Auto Body. Furthermore, I understand that additional costs/damage may be discovered after the
     vehicle has been disassembled. I agree to pay all costs associated in making this damage report lncludlng but not limited to,
     disassembly, storage, Inspections, photo documentation, damage analysis, diagnosis, estimating and other necessary
     charges.


     •     I agree to hold Professionals Auto Body harmless if I choose to rely upon this damage report to negotiate and/or settle
           any property claim for damage to my automobile.


     •     I understand that Professionals Auto Body cannot legally negotiate my repairs with anyone except me, the vehicle
           owner/undersigned. As such, I am responsible for negotiating/settling my property claim with any third party which
           may be responsible to me.

     •    I understand that I cannot transfer the title of the vehlde without Insuring the repair bill is paid in full, including all
          associated costs If my vehicle is determined to be a total loss. (see wall chart for storage charps or total loss form)

 Examples of associated costs are (not a full llstlng) help handling dalm, phone calls, Admln casts, parts procurement, towing,
                    moving of vehicle, securing and hazard waste and debris clean up, NADA evaluation.


           So we may know your expectations, please select the level of repair you desire (choose one):

~ want my vehicle repaired to the best of your ability using original manufacturer parts and higt:i quality materials.
_ _ I want my vehide safely repaired but some non-OEM'" knockoffs, junk yard parts and lower quality materials may be used.


__ I want the cheapest repair possible. This option is for cosmetic repairs ONLY. ••
          •• NOTE: lME INSURER AND ITS PREFFERED SHOP MAY ONLY GIVE YOU THE 3RD OPTION.




                                                                                                           -    -·   - --   ·- - -
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                                                      PROFESSIONALS AUTO BODY,                                                Workfile ID:           datb9eb5

                                                                              INC._CF
                                                1109 PLANK ROAD, DUNCANSVILLE, PA 16635
                                                          Phone: (814) 696-8466
                                                           FAX: (814) 696-8567

                                                      Preliminary Supplement 5 Summary

~    Customer: HUGHES, TINA
                                                             Written By: Robert Brickner, 135145

     Insured:             HUGHES, TINA                 Policy#:                                             Oaim ff:            C044771PA1501
     Type of Loss:                                     Date of Loss:                                        Days to Repair:     O
     Point of Impact: 06 Rear

     Owner:                                           Inspection Location:                                  Insurance Company:
     HUGHES, TINA                                     PROFESSIONALS AUTO BODY, INC._CF                      KEMPER PREFERRED
     310 WORDWORTH                                    1109 PLANK ROAD
     ALTOONA, PA 16602                                DUNCANSVILLE, PA 16635
     (814) 381-4574 Day                               Repair Facility
                                                      (814) 696-8466 Business



                                                                              VEHICLE

    Year:       2004                     Body Style:              4D lITV          VIN:          1J4GW48554C266560            Mileage In:          95239
    Make:       JEEP                     Engine:                  6-4.0L-FJ        License:      ESC1210                      Miieage Out:
    Model :     GRAND CHEROKEE 4X4       Production Date:                          State:      PA                             Vehide Out;
                LAREDO
    Color:      silver Int: gray         Condition:            Fair               Job# :



             TRANSMISSION                    DECOR                                        RADIO                                  Luggage/Roof Rack
             Automatic Transmission          Dual Mirrors                               AM Radio                                 SEATS
             Overdrive                       Body Side Moldings                           FM Radio                               Ooth Seats
             4 Wheel Drive                   Privacy Glass                              Stereo                                   Bucket Seats
             POWER                           Console/Storage                            CD Player                                WHEELS
             Power Steering                  CONVENIENCE                                SAFETY                                   Aluminum/Alloy Wheels
            Power Brakes                     Air Conditioning                           Drivers Side Air Bag                     PAINT
            Power Windows                    Intermittent Wipers                        Passenger Air Bag                       Clear Coat Paint
            Power Locks                      Tilt Wheel                                 Anti-Lock Brakes (4)
            Power Mirrors                    Cruise Control                             4 Wheel Disc Brakes
            Power Driver Seat                Rear Window Wiper                          ROOF




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                                                        Preliminary Supplement 5 summary

Customer: HUGHES, TINA
                                        Vehicle: 2004 JEEP GRAND CHEROKEE 4X4 LAREDO 40 UTV 6-4.0L-FI silver



                                                                  SUPPLEMENT SUMMARY

  Une                       Oper                 Description                          Part Number           Qty     Extended             Labor             Pain!:
                                                                                                                        Price$
                                                                                                            -·~


   50     #         504             Supplemental PROCESS Fee                                                  1
   51    #          sos             Supplemental PROCESS Fee                                                  1          90.00
-~~ ·~                         :>>~·}~i:.'~~~ a·-'.·.~·l. ~_.f ~f;-~ ·y :.~~;·fr~.~.)~ . :
   52    #          504             DIFFERENCE body Labor Hours                                               1                            -4.3
   53    #          504             DIFFERENCE Paint Labor Hours                                              1                                              2.3
   54    #          504             DIFFERENCE Frame Labor Hours                                              1                            -2.0 F
   55    #          S04             DIFFERENCE Parts & Materials                                              1          26.75
                                                                                SUBTOTALS                               116.75            -6.3               2.3



                                                                         RATE CHANGES

              Body Labor             (502)             1.6 hrs     @           $ 20.00 /hr          SO.OD     to        70.00 )             32.00
              Body Labor              (Est)          24.5 hrs      @           $ 20.00 /hr      ( 50.00       to        70.00 )           490.00
              Body Labor             (504)            4.3 hrs      @           $ 20.00 /hr      ( 50.00       to        70.00 )            86.00
              Paint Labor             (Est)          14.7 hrs      @           $ 20.00 /hr      ( 50.00       to        70.00 )           294.00
              Paint Labor            (S04)           -2.3 hrs     @            $ 20.00 /hr      ( 50.00       to        70.00 )            -46.00
              Frame Labor            (504)            2.0 hrs     @            $ 28.00 /hr      ( 50.00       to        78.00 )            56.00
              Body Supplies           (Est)          10.5 hrs      @            $ 0.50 /hr      ( 0.00        to        0.50 )                  5.25
              Paint Supplies          (Est)          14.7 hrs     @             $ 8.00 /hr      ( 32.00       to        40.00 )           117.60
              Paint Supplies         (504)           -2.3 hrs     @              $ 8.00 /hr     ( 32.00       to        40.00 )           -18.40




                                   TOTALS SUMMARY
                                   category                                                                    Basis                   Rate            Cost$
                                   Parts                                                                                                                116.75
                                   Frame Labor                                                               -2.0 hrs    @        $ 78.00 /hr          -156.00
                                   Additional Supplement Labor                                                                                         772.00
                                   Additional Supplement Materials/Supplies                                                                             196.45
                                   Subtotal                                                                                                            929.20
                                   Sales Tax                                                                $ 929.20     @         6.0000%               55.75
                                   Total Supplement Amount                                                                                             984.95
                                   NET COST OF SUPPLEMENT                                                                                              984.95




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                                        Preliminary Supplement 5 Summary

 Customer: HUGHES, TINA
                          Vehicle: 2004 JEEP GRANO CHEROKEE 4X4 lAREDO 40 UTV 6-4.0L-FI silver



                                CUMULATIVE EFFECTS OF SUPPLEMENT{S)

                             Estimate                                4,423.89    Robert Brickner
                             Supplement 501
                                                               -.
                                                                     -2,577.48   Guest Guest
                             Supplement 502                          1,652.76    Guest Guest
                             Supplement 503                            -98.66    Guest Guest
                             Supplement 504                            172.78    Guest Guest
                             Supplement SOS                            984.95    Guest Guest

                             Job Total:                 $           4,558.24
                             CUSTOMER PAY:              $             500.00
                             INSURANCE PAY:             $           4,058.24




ANY PERSON WHO KNOWINGLY AND WITH INTENT TO DEFRAUD ANY INSURANCE COMPANY OR OTHER PERSON
FILES AN APPLICATION FOR INSURANCE OR STATEMENT OF CLAIM CONTAINING ANY MATERIALLY FALSE
INFORMATION OR CONCEALS FOR THE PURPOSE OF MISLEADING, INFORMATION CONCERNING ANY FACT
MATERIAL THERETO COMMITS A FRAUDULENT INSURANCE ACT, WHICH IS A CRIME AND SUBJECTS THE PERSON
TO CRIMINAL AND OVIL PENALTIES.
THE FOLLOWING IS A LIST OF ABBREVIATIONS OR SYMBOLS THAT MAY BE USED TO DESCRIBE WORK TO BE
DONE OR PARTS TO BE REPAIRED OR REPLACED:D=DISCONTINUED PART A=APPROXIMATE PRICE B=BODY
LABOR D=DIAGNOSTIC E=ELECTRICAL F=FRAME G=GLASS M=MECHANICAL P=PAINT LABOR S=STRUCTURAL
T=TAXED MISCEUANEOUS X=NON TAXED MISCELLANEOUS ADJ=ADJACENT ALGN=ALIGN A/M=AFTERMARKET
BLND=BLEND CAPA=CERTIFIED AUTOMOTIVE PARTS ASSOCIATION D&R=DISCONNECT AND RECONNECT
EST=ESTIMATE EXT. PRICE=UNIT PRICE MULTIPLIED BY THE QUANTITY INCL=INCLUDED MISC=MISCELLANEOUS
NON-ADJ=NON ADJACENT O/H=OVERHAUL OP=OPERATION NO=UNE NUMBER QTY=QUANTITY
RECOND=RECONDillON REFN=REFINISH REPL=REPLACE R&I=REMOVE AND INSTALL R&R=REMOVE AND
REPLACE RPR=REPAIR RT=RIGHT SECT=SEcnON SUBL=SUBLET LT=LEFT W/O=WITHOUT W/_=WITH/_
#=MANUAL LINE ENTRY *=OTHER [IE..MOTORS DATABASE INFORMATION WAS CHANGED]. **=DATABASE LINE
WITH AFTERMARKET N;;::NOTES ATTACHED TO UNE NAGS=NATIONAL AUTO GLASS SPEQFICATIONS. OPT
OEM=ORIGINAL EQUIPMENT MANUFACTURER PARTS EITHER OPTIONALLY SOURCED OR OTHERWISE PROVIDED
WITH SOME UNIQUE PRIQNG OR DISCOUNT.
THE ATTACHED ESTIMATE REPRESENTS AN APPRAISAL OF THE COST OF REPAIR FOR THE VISIBLE DAMAGE TO
THE VEHICLE NOTED AT THE TIME OF INSPECTION NECESSARY TO RETURN THE VEHICLE TO ITS PREDAMAGED
CONDffiON. COSTS ABOVE THE APPRAISED AMOUNT MAY BE THE RESPONSIBILITY OF THE VEHICLE OWNER.
THERE IS NO REQUIREMENT THAT THE VEHICLE OWNER USE ANY SPEOFIED REPAIR SHOP. INFORMATION
REGARDING REPAIR FAOLITIES WHICH WILL BE ABLE TO REPAIR THE VEHICLE FOR THE APPRAISED AMOUNT IS
AVAILABLE FROM THE INSURANCE COMPANY. IF USED PARTS ARE SPECIFIED, THEY ARE REQUIRED TO BE OF
LIKE KIND AND QUALITY TO THOSE BEING REPLACED. INCIDENTAL CHARGES SUCH AS TOWING, PROTECTIVE
CARE, CUSTODY, STORAGE, DEPRECIATION, BAlTERY AND TIRE REPLACEMENT ARE NOTED WHEN APPLICABLE.




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    ASSIGNMENT OF PROCEEDS

            _:}?t, .,. . .1 o.&"-"d. . ., 1C. . . _ _./d- -L. ~'tJ, ,. ~?,.:;.0;_'1_,_   _   _ ,,   hereinafter "Customer," has suffered damages to his/her

    vehicle foJJowing an accident.                                                   The repairs required following Customer's accident and for

    which Customer utilized the services of Professionals Auto Body do constitute a compensable

    loss under an insurance policy. Those repairs are to be paid for by                                                       _A_~~""t_,__<._'/______,
    hereinafter "Insurer," according to the tenns of the underlying policy.



           Customer has a right to payment of all costs that were necessary for repair of his/her

    vehicle, and Insurer is obligated by the applicable insurance policy to pay for such repair costs.

    The repair costs that Insurer is obligated to pay do constitute "proceeds" of the policy.



           In consideration of Professionals Auto Body's agreement to make all repairs to

   Customer's damaged vehicle, Customer desires to and does hereby assign to Professionals Auto

   Body any and all right, claim or other interest in any proceeds necessary to pay for repairs to

   Customer's vehicle as stated in the attached contract for repairs. As such, Professionals Auto

   Body is entitled to pursue payment of all proceeds of the insurance policy from Insurer in the

   amount of _S_ _ __ Lf_Lf~_t,(._._Y"'}
                                   ___ as stated in the attached contract for repairs.


           If any portion of the above agreement should be found unenforceable by a court of Jaw,

   the remainder of the agreement shall remain operative, valid and enforceable.



           If any portion of the above agreement should be found to be invalid, Customer (Assignor)

   shall still be held liable to Profession1;1ls Auto Body (Assignee) for the total amount of repairs as
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    set forth in the contract for repairs. This agreement does not in any way diminish the right of

    Professionals Auto Body to pursue payment for the repairs it has made to Customer's

    (Assignor's) vehicle as stated in the contract for repairs.



           This agreement is the entire agreement relative to the assignment of Customer's rights to

   pursue payment from Insurer for those repairs of Customer's vehicle set forth in the attached

   contract for repairs. Any other agreement that may be made relative to Customer's rights to

   pursue payment from Insurer for repairs of Customer's vehicle as set forth in the attached

   contract for repairs shall be held invalid and superseded by this assignment of Customer's rights.



           For the mutual exchange of promises and intending to be legally bound hereby, witness

   my hand and seal this        ~day of               A 1~ (J--         •20 rv   A.D.



   CUSTOMER:P         ~~~~</\...___

   PROFESSIONALS AUTO BODY:_                _,~-=-
                                             -----------
   DATE:       efu;Ur
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                     .~




             COLLISION REPAIR SPECIALISTS




                           Authorization to Handle Your Claim and Repairs



     One reason we require an authorization is due to the "privacy act" which requires us to
     receive your pennission to make calls on your behalf. Our goal is to also make sure you
     receive the highest quality and service at a fair price. So please read the following very
     carefully and feel free to ask any questions. Thank you for Jetting Professionals Auto
     Body repair your vehicle.

     Professionals Auto Body will take the tit~e to complete the paper work and phone calls
     regarding your claim. We sometimes need a little help from you but we will let you know
     if it is necessary. We need you to provide us with as much information as you can so we
     can expedite your claim and get started with your repairs.

     If for any reason, you do not have us do the repairs after we have taken the time to handle
     your claim, at that point you will be responsible for a $75.00 fee. If parts are ordered. you
     will be responsible for a 30% return and restocking fee.

     So if for any reason you may not have us do your repair, Do Not Sign This Agreement;
     and feel free to seek other repair shops for your estimates and or repairs. But I want to
     emphasize that we do want to do your repairs!

    Finally, this authorization form allows us to concentrate on customers that are serious
    about Professionals Auto Body doing their repairs. We seek to give them the time and
    service that we are known for in this area.

    I tllld;.r,tand and agree to the above, intending to be legally hereby, this __!{____day of
    --ff4·J      Z,.VI I                                             .
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